Case 4:19-cv-00507-ALM Document 474-1 Filed 10/05/21 Page 1 of 1 PageID #: 28096




                              UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

  DAMONIE EARL, LINDA RUGG, ALESA                 §
  BECK, TIMOTHY BLAKEY, JR.,                      §
  STEPHANIE BLAKEY, MARISA                        §
  THOMPSON, MUHAMMAD MUDDASIR                     §
  KHAN, JOHN ROGERS, VALERIE                      §
  MORTZ-ROGERS, JAMES LAMORTE,                    §
  BRETT NOBLE, RUBEN CASTRO, FRITZ                §
  RINGLING, LITAUN LEWIS, and LANCE               §
  HOGUE, JR., each individually and on            §
  behalf of all others similarly situated,        §           Civil Action No. 4:19-cv-00507
                                                  §
          Plaintiffs,                             §
                                                  §
  v.                                              §
                                                  §
  THE BOEING COMPANY and                          §
  SOUTHWEST AIRLINES CO.,                         §
                                                  §
          Defendants.                             §
                                                  §

                                               ORDER

         On this date, the Court considered the Motion for Expedited Briefing on the Motion to Stay

 Pending Interlocutory Appeal of Defendants The Boeing Company and Southwest Airlines Co.

 Based on the Court’s review, it is the Court’s opinion that the Motion should be GRANTED.

         IT IS THEREFORE ORDERED that (1) Plaintiffs’ response brief in opposition to

 Defendants’ Motion to Stay is due 7 days after the filing of the Motion to Stay; (2) Defendants’

 reply brief is due 4 days after the filing of the response; and (3) any sur-reply is due 4 days after

 the filing of the reply.

         IT IS SO ORDERED.
